    

 

 

 

:05-cr-80879-AC-SDP ECF No.1 filed 10/04/05 PagelD.1 ORIGINAL

United States District Court
Northern District of Texas ]
Office of the Clerk

/100 Commerce Room 14420
Dallas, Texas 75242-1003

September 27, 2005 me ye LE

. » DENISE PAGE HOC
David J. Weaver, Clerk of Court
Theodore Levin United States Courthouse FILE D
231 W. Lafayette Blvd, OCT - 4 2005
Detroit, Michigan 48226 CLERK'S OFFICE, DETROIT-PSq

U.S. DISTRICT GOURT
SUBJECT; 3:05-CR-239-M USA v. Makki, et a] (Tarek Makki/Dft. 1)
Dear Clerk: MAJZ
STRATE JUDGE MONA K. MAJZO

|
The following documents are enclosed herewith pursuant to RMARY the Federal Rules of Criminal
Procedure:

Certified copics of the Information, Waiver of Indictment, Consent to Transfer of Case, and Docket
Sheet

Please acknowledge reccipt of the above file on the enclosed copy of this letter.

Sincerely,
KAREN MITCHELL
Clerk of Court

Nicole Phillips
Deputy Clerk

Enclosures
Copy to Pre-Trial and AUSA

 

 
 

 

    

2:05-cr-80879-AjiDP ECF No. 1 filed 10/04/05 @"° Page 2 of 14

ie US. DISTR

NOR Vita. RM De ope TEXas

JPY | PEL
SEP | 9 2005

 

UNITED STATES DISTRICTICOUR’
NORTHERN DISTRICT OF TEXA
DALLAS DIVISION cturk.us pistons

| Ry

 
 

UNITED STATES OF AMERICA,

Plaintiff,

no.§ 705 CR" 0239M

HON,

¥.

D-1 TAREK MAKKI,

 

Defendant,
/

CONSENT TO TRANSFER OF CASE

FOR GUILTY PLEA AND SENTENCE

I, TAREK MAKKI, have been informed that an Information is pending
against me in the above-captioned case. Pursuant to Rule 20(a) of the Federal
Rules of Criminal Procedure, I state that I wish to plead guilty to the offense(s)

charged, to consent to the disposition of the case in the EASTERN DISTRICT OF

Certified a true copy of an instrument
on file in my office on 2ons
Clerk, U.S. District Court,
Northern Distric p

  

 

 

 
 

  
  
 

2:05-cr-80879-AgSDP ECF No. 1 filed 10/04/05 e Page 3 of 14

MICHIGAN, in Detroit, Michgian, in which I, TAREK MAKKI, am present, and -

to waive venue, trial, judgment, and sentencing in the Northern District of Texas.

  

 

 

2 Z
AMBS/C. THOMAS

Attorrey for Defendant

 

APPROVED

  

 

 

R{CHARD ROPER
United States Attorney
Northern lis of Texas

Date: LL KS

 

 

 

 
 

lof2

  
  

Case title: USA v. Makki et al

Assigned to: Judge Barbara M. G. Lynn

Defendant

Tarek Makki (1)
TERMINATED: 09/27/2005

Pending Counts

None

Highest Offense Level (Opening)

None

Terminated Counts

18 U.S.C. 1623 FALSE
DECLARATION BEFORE A COURT

(1)

Highest Offense Level (Terminated)
Felony

Complaints

None

 

 

eet RFPS 879-AC-SDP ECF No. 1 fitesVertundsircStlem/exizhid/Dk Rats ?7490556408220683-L_28..

RAMIREZ,
U.S. District Court

Northern District of Texas (Dallas)
CRIMINAL DOCKET FOR CASE #: 3:05-cr-00239-1

Internal Use Only

Date Filed: 09/19/2005

represented by James C Thomas
Law Office of James C Thomas
535 Griswold St
2632 Buhl Bldg
Detroit, MI 48226
313/963-2420
LEAD ATTORNEY
ATTORNEY TO RE NOTICED
Designation: Retained

Disposition

Disposition

Rule 20 Transfer to the Eastern District
of Michigan, Detroit Division

Disposition

—

 

9/27/2005 1:40 PM

 

 
 

   

2 of2

  
  

Plaintiff
USA

 

eS OB BFESHg79-AC-SDP ECF No. 1 fitekVeriemdsircSplomfevicbify Diag) 74908 5408220683-L_28...

represented by Joseph M Revesz
US Attorney's Office - Dallas
1100 Commerce St
3rd Floor
Dallas, TX 75242
214/659-8664
Fax: 214/659-8803 FAX
Email: joe.rcvesz@usdoj.gov
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Retained

 

 

 

 

 

 

 

 

 

Date Filed # Docket Text

09/19/2005 @1 | FELONY INFORMATION as to Tarek Makki (1) count 1, Adham Mackie
(2) count 2, Ali Makki (3) count 3. (nap, ) (Entered: 09/20/2005)

09/19/2005 @ ***Magistrate Judge Irma C. Ramirez chosen by random selection to handle
matters that may be referred in case as to Tarck Makki, Adham Mackic, Ali
Makkt (nap, } (Entered: 09/20/2005)

09/19/2005 @2 | WAIVER OF INDICTMENT by Tarek Makki (nap, ) (Entered: 09/20/2005)

09/19/2005 5 | CONSENT to Transfer of Case for Guilly Plea and Sentence as to Tarek
Makki (nap, ) (Entered: 09/20/2005)

09/27/2005 8 | CONSENT TO TRANSFER JURISDICTION (Rule 20) to Eastern District

of Michigan, Detroit Division. Counts closed as to Tarek Makki (1) Count 1.
(nap, ) (Entered: 09/27/2005)

 

9/27/2005 1:40 PM

 

 

 
 

 

‘IN THE UNITED STATES DISTRICT COURT
GC PY _ FOR THE NORTHERN DISTRICT GF TEXAS SEP | 9 2005
DALLAS DIVISION

 

 

    
 

   

3. DISTRICT COURT
ORTHERN Oe; our OF TEXAS

Per SY

 

A

 

 

The United States Attorney Charges:

 

follows:

 

CLERK. U.S. BISTRICT GOURT
| By
i Deputy

 

THE UNITED STATES OF AMERICA = § _
§
yo : 3*O5-ER—-0 2 39M
TAREK MAKKI (1) §
ADHAM MACKIE (2) §
ALI MAKKI (3) §
INFORMATION

 

Introduction

i. From on or about May 25, 1999, and continuing thereafter up to and including
at least November 16, 2001, a civil action, styled; Bollore, S.A. v. Import Warehouse Ine.,
et al., No. 3:99-CV-1196-R, was pending in the United States District Court for Northern
District of Texas, Dallas Division, in which Bollore, $.A4., a French corporation, sued, among
others, defendants, Tarek Makki and Adham Mackie, and in which civil action defendant

Ali Makki later became a witness. Said civil action is summarized, in pertinent part, as

a. Bolloré, S.A.(hereafter referred to as “Bolloré”) was a manufacturer of
specialty paper, including cigarette paper.

b. During 1999, Bolloré initiated the aforementioned civil action
(hereafter referred to as “Lawsuit”) against the defendants Tarek
Makki, Adham Mackie, and others for, inter alia, trademark
counterfeiting, in violation of to the Lanham Act, 15 U.S.C. § 1116.

c. The Lawsuit alleged that the defendants, Tarek Makki, Adham
Mackie and others, engaged in the manufacture, importation,
distribution, sale and offering for sale counterfeit Zig-Zag® brand
cigarette paper products (hereafter referred to as “Zig Zag Products”).

d. The Zig Zag Products, at issue in the Lawsuit, were sold under the
registered United States trademarks “Zig Zag” and “Smoking Man

Information - Page 1

 

Certified a true copy of an instrument
on file in my office on Lipliralh2 7 i705

Cierk, U.S., District Court,
Northgrn Djstria} of Texas

      

 
 

 

se 2:05-cr-80879-A@spP ECF No. 1 filed 10/04/05 @ecrr’ Page 7 of 14

Design,” as well as United States tegistered copyrights for the design
on the Zig Zag Products’ booklets.

e. On July 29, 1999, the presiding judge in the Lawsuit, entered an order
preliminarily enjoining all of the defendants in the case from, inter alia,
importing, distributing or selling infnnging Zig Zag Products in the
United States (hereafter referred to as the “Order”).

f. Subsequent to the Order, several of the defendants settled with Bolloré,
leaving only four defendants in the Lawsuit, including Tarek Makki
and Adham Mackie.

g. Defendants Tarek Makki and Adham Mackie, ignored the Order and
continued their part in the manufacture of counterfeit booklets, cartons
and shipping cases in Jakarta, Indonesia and the re-packaging of bulk
paper into counterfeit packaging for shipment into the United States for
distibution.

h. On May 11, 2001, as a result of the aforementioned continued
trademark counterfeiting activity, the presiding judge entered an order
setting a hearing to determine whether or not Tarek Makki and
Adham Mackie were in contempt of the Order.

 

 

i. On November 16, 2001, as a result of the aforementioned contempt
hearing, which took place in Dallas, Texas on May 19, 2001, the
presiding judge entered an ORDER OF CONTEMPT finding and
concluding, m pertinent part, that the defendants, Tarek Makki and
Adham Mackie, their agents, officers, employees, representatives,
successors and assigns, and all other persons, firms or corporations
acting im concert, privity or participation with them were in civil
contempt of the Order

2. It was the burden of Bolloré during the aforementioned contempt hearing, to
establish that the defendants therein were in civil contempt of the Order,

3, In order for Bolloré to satisfy its burden of proof, it was material to said
contempt hearing that Bolloré establish that defendants, Tarek Makki and Adham Mackie,
continued to be involved with the distribution of counterfeit Zig Zag Products, in this case,
the manufacture of booklets, cartons and shipping cases in Jakarta, Indonesia, and the re-
packaging of bulk paper into counterfeit packaging and the shipment of said products to the

United States for distribution therein .

Information - Page 2

 

 
 

 

 

 

se 2:05-cr-80879-A@BSDP ECF No. 1 filed 10/04/05 @verrs Page 8 of 14

Count One

False Declaration Before a Court
(Violation of 18 U.S.C. § 1623)

1. The United States Attorney herein realleges and incorporates by reference
the allegations contained in the Introduction to this information as if fully set forth.

2. On or about May 29, 2001, in the Dallas Division of the Northern District
of Texas, defendant, Tarek Makki, while under oath as a witness in a hearing then being
heid before the United States District Court for the said district entitled, Bollore, S.A., v.
Import Warehouse Inc., et al., Civil Action No. 3:99-CV-1196-R, did knowingly make
false material declarations, that is to say:

a defendant, Tarek Makki while under oath, did knowingly
declare in testimony before said court, with respect to the

aforesaid material matters, substantially as follows:

i. Q. You worked in the importation and exportation of
Zig-Zag cigarette papers as well, didn’t you?
A. Not to the States.

il. Q. Not to the States?
A. Yes.

ii = QQ, Your next paragraph in your declaration, which is
Exhibit 2, you say, 1 am in compliance with the order.
A. Correct,

iv. Q. What do you mean by that?
A. Well, [ meant that when I signed the declaration I
was -- order (sic) not to import any Bollore product to the United
States,

Information - Page 3

 

 
 

 

ase 2:05-cr-80879-A@SDP ECF No. 1 filed 10/04/05 @ere Page 9 of 14

 

v. Q. And you haven’t done that since --
A. Correct.
vi. Q. — -- June of 1999?
A. Since the restraining order.
vi. Q. And, in fact, you testified early (sic), I think, that you’re

not importing or exporting anything into the United States
tight now, correct?
A. Correct, I haven’t done so,

b, The aforesaid testimony of defendant, Tarek Makki, as he then and

there well knew and believed, was false, and he did knowingly make

 

false material declarations in his answers to questions numbered: i,
ll, 11, 1V, v, vi, and vii above, in that he then and there well knew
when he gave said answers to said questions that he had continued to
participate in the manufacture counterfeit Zig Zag Products,
including booklets, cartons and shipping cases, in Jakarta, Indonesia
and to re-packaging of bulk paper into counterfeit Zig Zag Products
packaging and shipment of said products into the United States for
distribution therein, m knowing violation of the July 29, 1999 Order
of the Honorable Jerry Buchmeyer, United States District Judge,

In violation of 18 U.S.C. § 1623.

Information - Page 4

 

 
 

 

1.

 

Se 2:05-cr-80879-AG@PP ECF No. 1 filed 10/04/05 F@BeO10 Page 10 of 14

Count Two
False Declaration Before a Court
(Violation of 18 U.S.C. § 1623)

The United States Attorney herein realleges and incorporates by reference

the allegations contained in the Introduction to this information as if fully set forth.

2.

On or about May 29, 2001, im the Dallas Division of the Northern District

of Texas, defendant, Adham Mackie, while under oath as a witness in a hearing then

being held before the United States District Court for the said district entitled, Bollore,

S.A., v. Import Warehouse Inc., et al., Civil Action No, 3:99-CV-1196-R, did knowingly

make false material declarations, that is to say:

a,

defendant, Adham Mackie, while under oath, did knowingly declare in
testimony before said court, with respect to the aforesaid material matters,
substantially as follows:
i. Q. Have you, yourself, had any involvement in the distributing,

manufacturing or selling Zig-Zag cigarette paper product

since July 29 of 1999?

A. Absolutely not.
ii. Q. Have you ever had anybody on your behalf manufacture,

distribute or sell Zig-Zag cigarette paper product since

July 29 of 19997

A. Absolutely not.
i, §=Q, Haven't sold it, haven’t touch (sic) it, haven’t moved it;

correct?

A. You're right,

Information - Page 5

 

 
 

 

Se 2:05-cr-80879-ACQ@PP ECF No. 1 filed 10/04/05 F@ye'l.11 Page 11 of 14

  

b, The aforesaid testimony of defendant, Adham Mackie, as he then and there
well knew and believed, was false, and that he did knowingly make false
material declarations in his answers to questions numbered: 1, 1, and iti
above; in that he then and there well knew as to said answers to said

questions that he had continued to participate in the manufacture counterfeit

 

Zig Zag Products, including booklets, cartons and shipping cases, in
Jakarta, Indonesia and to re-packaging of bulk paper mto counterfeit Zig
Zag Products packaging and shipment of said products into the United
States for distribution therein, in knowing violation of the July 29, 1999

Order of the Honorable Jerry Buchmeyer, United States District Judge

 

In violation of 18 U.S.C. § 1623,

Information - Page 6

 
 

 

1.

 

Se 2:05-cr-80879-AC@PP_ ECF No. 1 filed 10/04/05 F@pye'0.12 Page 12 of 14

Count Three
False Declaration Before a Court
(Violation of 18 U.S.C. § 1623)

The United States Attorney herein realleges and incorporates by reference

the allegations contained in the Introduction to this information as if fully set forth.

2.

On or about May 29, 2001, in the Dallas Division of the Northern District

of Texas, defendant, Ali Makki, while under oath as a witness in a hearing then being

held before the United States District Court for the said district entitled, Bollore, S.A., v.

Import Warehouse Inc., et al., Civil Action No. 3:99-CV-1196-R, did knowingly make

false material declarations, that is to say:

*

a.

defendant, Ali Makki, while under oath, did knowingly declare in
testimony before said court, with respect to the aforesaid material matters,

substantially as follows:

i Q. And do you any work (sic) for a company called General

Imports?
A. Yes, that’s my company.
kK
il. Q. Did Tarek Makki know that you and your company, General
Imports, were doing business in Bollore Zig-Zag goods?

A. No.

ahe ae HE
ili. Q Did Tarek Makki or Joe Makki assist you or General

Imports in any way whatsoever in your purchase and

distribution of Bollore Zig-Zag goods in Michigan?

Information - Page 7

 

 
  
 

 

 

Se 2:05-cr-80879-AC@PP ECF No.1 filed 10/04/05 F@pe!0.13 Page 13 of 14

A. No, they didn’t,

b. The aforesaid testimony of defendant, Ali Makki, as he then and there well
knew and believed, was false, and that he did knowingly make false
matcrial declarations in his answers to questions i, ii, and iii above, in that
he then and there well knew that he had been directed and assisted by
defendants, Tarek Makki and Adham Mackie, in the purchase and
distribution in Michigan of counterfeit Zig Zag Products through his
company, General Imports, in violation of the July 29, 1999 Order of the
Honorable Jerry Buchmeyer, United States District Judge.

- In violation of 18 U.S.C, § 1623.

RICHARD B, ROPER
NITED STATES ATTORNEY

Me Cty
J ssssten M. REVESZ
/ssoutan United States Attorney
State Bar of Texas No. 16792700
1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699
Telephone: 214.659.8664
Facsimile: 214.659.8803

Information - Page 8

 

 
 

      

2: 05-cr-80879- A@spP ECF No.1 filed 10/04/05 g@mgelD.14 Page 14 of 14

US. DISTRICT COURT .
NORTHERN DISYE ICT OF TEXAS
Rae

   

 

a

 
 

yp _ INTHE UNITED STATES DISTRICT CO
C (C)) PY FOR THE NORTHERN DISTRICT OF TEXAIS SEP | 9 2005
DALLAS DIVISION

 

CLERK, US. MSTRICT “h i
| Deputy

 

 

    

 

 

 

THE UNITED STATES OF AMERICA § pe
ve 2 No.
WAIVER OF INDICTMENT

Tarek Makki, defendant, who is accused of violating 18 U.S.C. § 1623, in that:

On or about May 29, 2001, in the Dallas Division of the Northern District
of Texas, defendant, Tarek Makki, while under oath as a witness in a
hearing then being held before the United States District Court for the said
district styled: Bollore, S.A., v. Import Warehouse Inc,, et al., Civil Action
No, 3:99-CV-1196-R, did knowingly make false material declarations, as
charged in Count One,

Tarek Makki, being advised of the nature of the charges and of his rights, hereby

waives prosecution by indictment and consents that the proceeding nay be by information

SIGNED THIS2*7#alay of Lifes of
TAREK Se :

Defendant

  
 

 

535 Griswold Street
2632 Buhl Building
Detroit, M1 48226
Tel. 313.963.2420

Certified a true copy of an instrument

on file in my office on 2000
Clerk, U.S. District Court,

Northe t Dis) ®

 
